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                                                      Friday, 05 October, 2018 01:08:32 PM
                                                               Clerk, U.S. District Court, ILCD

                 UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF ILLINOIS


JACQUELINE FARRIS,                 )
                                   )
Plaintiff,                         )             17-CV-3279
                                   )
      v.                           )
                                   )
ERIK KOHLRUS, et al.,              )
                                   )
Defendants.

                                   ORDER

TOM SCHANZLE-HASKINS, U.S. MAGISTRATE JUDGE.

      This order summarizes the rulings at the hearing held on

October 3, 2018.

IT IS ORDERED:

      1) Plaintiff’s motion for a discovery plan for ESI protocol is

granted in part and denied in part as stated on the record at the

hearing. (d/e 73.)

      2) Plaintiff’s motion for a protective order is granted in part

and denied in part as stated on the record at the hearing. (d/e 78.)

The Court’s language added to paragraph 7 of the protective order

is attached as Exhibit A to this order.



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     3) Within 7 days of the entry of this order, Plaintiff shall file a

revised, proposed ESI discovery plan and a revised, proposed

protective order in accordance with the Court’s rulings at the

hearing.

     4) Within seven days after Plaintiff has filed a revised,

proposed ESI discovery plan and protective order, Defendants may

file objections to the proposed orders.

     5) The revised scheduling order will enter with the dates

stated on record at the hearing.

     6) In light of the rescheduling of deadlines and dates, the

following motions are denied as moot: Defendants’ motions to

extend their deadlines for responding to Plaintiff’s discovery (d/e’s

69, 76, 89); Plaintiff’s motion to compel Defendants to participate in

discovery (d/e 80); and, Plaintiff’s motion to extend time to complete

discovery (d/e 82).

     7) Plaintiff’s motion for default and application for default

judgment against Laura Jackson is granted in part and denied in

part. (d/e 81.) The motion is granted to the extent that the Court

will enter an order of default against Laura Jackson. The motion is

denied to the extent Plaintiff seeks the entry of default judgment.
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Plaintiff shall follow the procedures set forth in the standing order

of Judge Myerscough entered April 15, 2011 regarding default

judgment. The standing order is available on the Court’s website

under Orders and Rules by Judge.

     8) By October 12, 2018, Plaintiff is directed to provide to

defense counsel for Defendant Rude a signed release of her IDOC

medical and mental health records in the form of document 85-1, p.

4. The release shall not be used to obtain any documents other

than for use in this litigation. The release shall not be used to

request documents outside of the discovery process.

     9) The clerk is directed to file in the docket an audio recording

of the 10/3/18 hearing.

ENTERED:        October 4, 2018

                                  s/ Tom Schanzle-Haskins
                                  TOM SCHANZLE-HASKINS
                                  U.S. DISTRICT JUDGE




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                             EXHIBIT A

To be added as paragraph 7 of Plaintiff’s protective order in
Farris v. Kohlrus, 17-cv-3279:
      7.   This is not an order compelling the production of
protected health information. The parties are still required to seek
that information through the legal process applicable to discovery in
any civil case such as through discovery requests, subpoenas, and
motions to compel. This order does not relieve any party from
complying with applicable notice requirements. See 45 C.F.R.
164.512(e)(1)(ii)(a) and (iii).

      PHI must be obtained through use of the discovery procedures
permitted under the Federal Rules of Civil Procedure. PHI may be
disclosed to a party, or party’s attorney, or attorney for a deponent
or respondent in discovery, experts, consultants, any witness or
other person retained or called by the parties, deponents,
respondents in discovery or their attorneys, treating physicians,
other healthcare providers, insurance carriers, or other entities
from whom damages, compensation, or indemnity is sought and
any entity performing, monitoring, or adjustment activities on
behalf of such insurance carrier or other entity and/or their
employees, agents, or third-party administrators for any of the
parties involved in litigation; in any proceeding for health oversight
activities as permitted under 45 C.F.R. 164.512, court reporters,
copy services, other similar vendors to the parties and their
attorneys, as well as the professional and support staff of all of the
above.

     Before disclosing PHI documents and/or Confidential Matter
to any persons involved in the litigation, including but not limited to
counsel, co-counsel, counsel’s staff, or expert or consulting expert
witnesses retained in connection with the litigation, counsel will be
responsible for informing each such person that the documents or
information containing PHI and/or Confidential Matter to be
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disclosed are confidential, to be held in confidence, are to be used
solely for the purpose of preparing for this litigation and further,
that these restrictions are imposed by a court order. Any portion of
stenographically or electronically recorded testimony regarding PHI
and/or Confidential Matter is subject to the same restrictions as
the documents themselves.




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